
695 S.E.2d 451 (2010)
Karen STEINKRAUSE, Petitioner,
v.
George TATUM, Commissioner, North Carolina Division of Motor Vehicles, Respondent.
No. 18A10.
Supreme Court of North Carolina.
March 11, 2010.
George B. Currin, Raleigh, for Karen Steinkrause.
Jess D. Mekeel, Assistant Attorney General, for George Tatum.
Prior report: ___ N.C.App. ___, 689 S.E.2d 379.

ORDER
Upon consideration of the petition for discretionary review, filed by Petitioner (Steinkrause) on the 12th of January 2010 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Denied by order of the Court in conference, this the 11th of March 2010."
Upon consideration of the petition filed by Petitioner on the 20th of January 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th of March 2010."
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendant's new brief so limited in scope shall be filed with this Court not more than 30 days from the date of certification of this order.
